             Case 1-18-43216-cec            Doc 50       Filed 03/28/19            Entered 03/28/19 17:17:25
                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NEW YORK

                                           ABSTRACT OF JUDGMENT
Case No.(s): 1-18-43216-cec
            1-18-43272-cec

Names of Parties against whom Judgments                          Names of Parties in whose favor
have been obtained                                               Judgments have been obtained
Sam Sprei                                                        Amnmuth Holdings LLC
4203 13th Avenue                                                 390 Berry Street
Brooklyn, NY 11219                                               Suite 200
                                                                 Brooklyn, NY 11249
Abraham Lesser
1481 47th Street                                                 Quest Funding LLC
Brooklyn, NY 11219                                               1379 45th St
                                                                 Apt 1C
Chaim Miller                                                     Brooklyn, NY 11219
1324 47th Street
Brooklyn, NY 11219

Amount of Judgment                          Names of Attorneys                                     When Docketed
$721,411.47, which shall                    Attorneys for Alleged Debtors:                         March 27, 2019
accrue post judgment interest               Hanh Huynh
until satisfied, and for which Sam          Rubin LLC
Sprei, Abhraham Lesser, and Chaim Miller    345 Seventh Avenue, 21st Floor
are jointly and severally liable.           New York, NY 10001

                                            Paul A Rubin
                                            Rubin LLC
                                            345 Seventh Avenue
                                            New York, NY 10001

                                            Attorneys for Petitioning Creditors:
                                            Michael Z Brownstein
                                            Tarter Krinsky & Drogin LLP
                                            1350 Broadway
                                            11th Floor
                                            New York, NY 10018

                                            Scott Markowitz
                                            Tarter Krinsky & Drogin LLP
                                            1350 Broadway
                                            11th Floor
                                            New York, NY 10018

                                            Douglas J Pick
                                            Pick & Zabicki LLP
                                            369 Lexington Avenue
                                            12th Floor
                                            New York, NY 10017


I CERTIFY, that the foregoing is a correct Abstract of the Judgment.

Dated: Brooklyn, New York
       March 28, 2019

                                                                 ROBERT A. GAVIN, JR.
                                                                 Clerk of Court


                                                           By: s/ V. Belizario
USBC-34                                                        Deputy Clerk
[Rev. 9/27/07]
